 

Case MDL No. 3006 Document 30 Filed 08/10/21 Page 1 of 1

IN THE UNITED STATES DISTRICT COURT
~ FOR THE
MIDDLE DISTICT OF FLORIDA
MDL No. 3006 - IN RE: TASIGNA (NILOTINIB) PRODUCTS LIABILITY LITIGATION
CONSENT OF TRANSFEREE COURT

The United States District Court for the Middle District of Florida hereby consents to the
assignment of the actions involved in the above-described litigation to the Honorable Roy B. Dalton,
Jr., for coordinated or consolidated pretrial proceedings pursuant to 28 U.S.C. § 1407.

In the event that reassignment of this litigation to another judge becomes necessary, such

reassignment shall take place in accordance with Section 1407(b) and Panel Rule 2.1(c).

/ “Chief Judge 7
+ 2

PLEASE FAX OR EMAIL THE SIGNED FORM TO:
Mr. John W. Nichols, Clerk of the Panel, Judicial Panel on Multidistrict Litigation @ fax number
202-502-2888 or email address MDLPanelOrders@JPML.USCOURTS.GOV.

THIS ASSIGNMENT IS CONFIDENTIAL UNTIL THE ORDER OF TRANSFER IS FILED
BY THE PANEL.

SHOULD REASSIGNMENT BECOME NECESSARY, PLEASE CONTACT THE PANEL
EXECUTIVE, Thomasenia P. Duncan, at 202-502-2800.
